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                                 UNITED STATES DISTRICT COURT
1
                                 NORTHERN DISTRICT OF ILLINOIS
2                                      EASTERN DIVISION

3
      KI CHUL SEONG, an individual, and OPEC                CASE NO.: 15-CV-2234
4     ENGINEERING CO., LTD., a Korean
      Corporation,
5

6           Plaintiffs.                                     COMPLAINT FOR:

7                 v.
8
      PAPS USA, LLC., an Illinois Limited Liability              PATENT INFRINGEMENT
9     Company; PUNGKUK EDM WIRE
      MANUFACTURING CO., a Korean
10    Corporation; MACT CO., LTD, a Korean
11
      Corporation; and DOES 1 through 10,
      inclusive,
12                                                               Jury Trial Demanded
            Defendants.
13

14

15
                                               COMPLAINT
16

17          NOW COME the Plaintiffs, KI CHUL SEONG and OPEC ENGINEERING CO., LTD.

18   (collectively "Plaintiffs"), by and through their undersigned counsels, for their Complaint against
19
     the Defendants, PAPS USA, LLC., an Illinois Limited Liability Company, PUNGKUK EDM
20
     WIRE MANUFACTURING CO., a Korean Corporation, MACT CO., LTD, a Korean
21
     Corporation, and DOES 1 through 10, inclusive (collectively "Defendants") allege as follows:
22

23                                        NATURE OF ACTION

24           1.        This action concerns Defendants’ PATENT infringement and unfair
25
      competition under the patent laws of the United States of America, Title 35 of the United
26
      States Code §271, et seq. Jurisdiction is founded on 28 U.S.C. §§ 1331 and 1338(a).
27

28




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                                       JURISDICTION AND VENUE
1

2               2.   This is an action for patent infringement, arising under the patent laws of

3    the United States of America, Title 35 of the United States Code. Jurisdiction is founded
4
     on 28 U.S.C. § 1331 (actions arising under the laws of the United States), 28 U.S.C. §
5
     1332(a) (diversity of citizenship between the parties), and § 1338(a) (actions arising
6

7
     under an Act of Congress relating to patents).

8               3.   This Court has personal jurisdiction over Defendants in that one or more
9    of them have, directly or through agents and/or intermediaries, committed acts within
10
     Illinois giving rise to this action and/or have established minimum contacts with Illinois
11
     such that the exercise of jurisdiction would not offend traditional notions of fair play and
12

13   justice.

14              4.   Upon information and belief, Defendants regularly conduct business in
15
     Illinois, and purposefully availed itself of the privileges of conducting business in
16
     Illinois. In particular, upon information and belief, Defendants, directly and/or through
17
     its agents and/or intermediaries, make, use, import, offer for sale, sell, and/or advertises
18

19   its products and affiliated services in Illinois.

20              5.   Upon information and belief, Defendants have committed patent
21
     infringement in Illinois that has led to foreseeable harm and injury to Plaintiffs. Upon
22
     information and belief, Defendants derive substantial revenue from the sale of infringing
23
     products distributed within Illinois and/or expects or should reasonably expect its actions
24

25   to have consequences within Illinois. In addition, upon information and belief,

26   Defendants knowingly induced, and continue to knowingly induce, infringement within
27
     Illinois by offering for sale, selling, and/or contracting with others to market infringing
28




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     products with the knowledge and intent to facilitate infringing use of the products by
1

2    others within Illinois and by creating, importing, distributing and/or selling product

3    information and other materials providing instruction for infringing use.
4
              6.    Venue is proper in this Court under 28 U.S.C. §§ 1391(b), (c), and 28
5
     U.S.C. § 1400(b).
6

7
                                                 PARTIES

8             7.    Plaintiff KI CHUL SEONG (“SEONG”) is an individual residing in
9    Korea.
10
              8.    Plaintiff OPEC ENGINEERING CO., LTD (“OPEC”) is a corporation
11
     duly organized and existing under the laws of Korea, with its principal place of business
12

13   in Korea.

14            9.    Upon information and belief, at all times relevant, Defendant PAPS USA,
15
     LLC. (“PAPS”) is a Limited Liability Company duly organized and existing under the
16
     laws of Illinois, with its principal place of business in Vernon Hills, Lake County,
17
     Illinois.
18

19            10.   Upon information and belief, at all times relevant, Defendant PUNGKUK

20   EDM WIRE MANUFACTURING CO. (“PUNGKUK”) is a corporation duly organized
21
     and existing under the laws of Korea, with its principal place of business in Korea.
22
              11.   Upon information and belief, at all times relevant, Defendant MACT CO.,
23
     LTD (“MACT”) is a corporation duly organized and existing under the laws of Korea,
24

25   with its principal place of business in Gyeongggi-Do, Korea.

26                                     FACTUAL BACKGROUND
27
              12.   Plaintiff SEONG is the inventor and the owner of U.S. Patent No.
28




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     6,306,523, U.S. Patent No. 6,482,535, and U.S. Patent No. 6,492,036, (collectively
1

2    referred to as "SEONG Patents"; Exhibits A, B, C, respectively) related to electrode wire

3    for use in electrical discharge machining.
4
            13.     Plaintiff SEONG has licensed SEONG Patents to Plaintiff OPEC, and
5
     Plaintiff OPEC manufactures, distributes and sells electrode wire according to SEONG
6

7
     Patents for use in electrical discharge machining.

8           14.     Plaintiff SEONG has not licensed the SEONG Patents to any entity other
9    than Plaintiff OPEC.
10
            15.     Plaintiffs, collectively, possess all rights conferred to SEONG Patents
11
     within a field that includes the manufacturing, using, distributing and sales of (1)
12

13   electrode wire for use in electrical discharge machining, and (2) a certain method of

14   manufacturing the same.
15
                                                   Count I
16
                     FEDERAL PATENT INFRINGEMENT, TITLE 35 U.S.C. §271.
17                 (AGAINST DEFENDANT PUNGKUK AND DEFENDANT PAPS)
18
            16.     Plaintiffs incorporate paragraphs 1 through 15 herein by reference and
19
     further allege as follows:
20
            17.     Upon information and belief, at all times relevant, Defendant PUNGKUK
21

22   makes, uses, advertises, imports, offers for sale, and exclusively sells for subsequent sale

23   in the United States through Defendant PAPS, including within Illinois and this Judicial
24
     District, the electrode wires for use in electrical discharge machining that directly
25
     infringe one or more claims of SEONG Patents, and therefore one or more SEONG
26

27
     Patents, as shown on Defendant PUNGKUK's website at www.pungkuk.com. Exhibit D.

28          18.     Upon information and belief, at all times relevant, Defendant PAPS



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     exclusively imports the electrode wires and other products made and/or sold by
1

2    Defendant PUNGKUK, and thereafter uses, advertises, offers for sale, sells for

3    subsequent sale in the United States, including within Illinois and this Judicial District,
4
     the electrode wires for use in electrical discharge machining that directly infringe one or
5
     more claims of SEONG Patents. Exhibit D.
6

7
            19.     Sample printouts of Import Data of the infringing electrode wires,

8    showing Defendant PAPS as the consignee in the United States and Defendant
9    PUNGKUK as the shipper from Korea, are attached hereto as Exhibit E.
10
            20.     Upon information and belief, at all times relevant, Defendant PUNGKUK
11
     and Defendant PAPS have actual notice of each of SEONG Patents.
12

13          21.     Upon information and belief, at all times relevant, Defendant PUNGKUK

14   and Defendant PAPS were aware of each of SEONG Patents.
15
            22.     Upon information and belief, at all times relevant, even after actual
16
     notice, Defendant PUNGKUK and Defendant PAPS continued to import, use, advertise,
17
     offer for sale, sell for subsequent sale in the United States, including within Illinois and
18

19   this Judicial District, the infringing electrode wires for electrical discharge machining

20   that directly infringe one or more claims of SEONG Patents.
21
            23.     Upon information and belief, at all times relevant, even after full
22
     knowledge of SEONG Patents, Defendant PUNGKUK and Defendant PAPS willfully
23
     and wantonly continued to import, use, advertise, offer for sale, sell for subsequent sale
24

25   in the United States, including within Illinois and this Judicial District, the infringing

26   electrode wires for electrical discharge machining that directly infringe one or more
27
     claims of SEONG Patents, and therefore one or more SEONG Patents.
28




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            24.     Upon information and belief, at all times relevant, Defendant
1

2    PUNGKUK's electrode wires and Defendant PAPS' electrode wires compete directly

3    with Plaintiffs' product made according to SEONG Patents.
4
            25.     Upon information and belief, at all times relevant, Defendant PUNGKUK
5
     and Defendant PAPS actively target customers of Plaintiffs with the intent to induce and
6

7
     contribute to the infringement of at least one claim of SEONG Patents.

8           26.     Upon information and belief, at all times relevant, Defendant
9    PUNGKUK's electrode wires and Defendant PAPS' electrode wires are material
10
     components of the articles according to the claims of SEONG Patents and they are not
11
     staple articles of commerce capable of substantial non-infringing use, because the
12

13   electrode wires are used for specific purpose in electrical cutting machines, specially

14   designed for improving speed and efficiency of machining.
15
            27.     As a result of Defendant PUNGKUK's and Defendant PAPS's inducement
16
     and contributory infringement of at least one claim of SEONG Patents, the distributors of
17
     Defendant PAPS and one or more Defendant DOES directly infringe at least one claim
18

19   of SEONG Patents.

20          28.     As a result of Defendant PUNGKUK's and Defendant PAPS's inducement
21
     and contributory infringement of at least one claim of SEONG Patents, machinists use
22
     Defendant PUNGKUK's and Defendant PAPS's wires to directly infringe at least one
23
     claim of SEONG Patents.
24

25          29.     As a consequence of Defendant PUNGKUK's and Defendant PAPS's acts

26   of infringement of one or more claims of SEONG Patents as set forth above, Plaintiffs
27
     have been damaged, and will continue to be damaged unless such acts are enjoined by
28




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     the Court.
1

2           30.    Upon information and belief, at all times relevant, Plaintiffs allege that

3    Defendant PUNGKUK, as the principal entity, managing managers and employees of
4
     Defendant PAPS, ignoring much of the independent corporation formalities, comingling
5
     of funds, passing through profits and having informal accounting, and making the
6

7
     decision to make, ship and sell infringing wires to Defendant PAPS, cannot hide behind

8    a corporate structure for Defendant PUNGKUK's inducing and contributing to the
9    infringement of one or more claims of SEONG Patents by Defendant PAPS and other
10
     Defendants.
11
            31.    Upon information and belief, at all times relevant, Plaintiffs allege that
12

13   the president of Defendant PUNGKUK and the president of Defendant PAPS is the same

14   person, Mr. Dong Cho Lee ("DCLEE"), as shown on the websites of Defendant
15
     PUNGKUK and the company brochure of Defendant PAPS, displaying the exactly same
16
     message and the exactly same content, touting the Defendant PAPS as if it were
17
     Defendant PUNGKUK. Exhibit F.
18

19          32.    In fact, upon review of the Defendant PUNGKUK website at

20   www.pungkuk.com, it is difficult to discern whether the Defendant PUNGKUK's
21
     website is Defendant PUNGKUK's website or Defendant PAPS's website. Exhibit G.
22
            33.    As a consequence of Defendant PUNGKUK's and Defendant PAPS's acts
23
     of infringement of one or more of the claims of SEONG Patents as set forth above,
24

25   Plaintiffs have been damaged, and will continue to be damaged unless such acts are

26   enjoined by the Court.
27

28




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                                                   Count II
1

2                    FEDERAL PATENT INFRINGEMENT, TITLE 35 U.S.C. §271.
                               (AGAINST DEFENDANT MACT)
3
            34.     Plaintiffs incorporate paragraphs 1 through 33 herein by reference and
4

5    further allege as follows:

6           35.     Upon information and belief, at all times relevant, Defendant MACT
7
     makes, uses, advertises, imports, offers for sale, sells for subsequent sale pre-drawn
8
     electrode wires to Defendant PUNGKUK which uses the Defendant MACT's pre-drawn
9

10
     wires to draw and form the infringing electrode wires that directly infringe one or more

11   claims of SEONG Patents, and therefore one or more SEONG Patents,.
12
            36.     Upon information and belief, at all times relevant, Defendant PAPS then
13
     imports the infringing electrode wires made by Defendant PUNGKUK, and thereafter
14
     uses, advertises, offers for sale, sells for subsequent sale in the United States, including
15

16   within Illinois and this Judicial District, the electrode wires for use in electrical discharge

17   machining that directly infringe one or more claims of SEONG Patents, and therefore
18
     one or more SEONG Patents,
19
            37.     Upon information and belief, at all times relevant, Defendant MACT has
20
     actual notice of each of SEONG Patents.
21

22          38.     Upon information and belief, at all times relevant, Defendant MACT was

23   aware of each of SEONG Patents.
24
            39.     Upon information and belief, at all times relevant, knowing the electrode
25
     wires, as processed by Defendant PUNGKUK and sold by Defendant PAPS, directly
26

27
     infringe one or more claims of SEONG Patents, Defendant MACT continues to

28   exclusively provide pre-drawn electrode wires for Defendant PUNGKUK, so that



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     Defendant PUNGKUK and Defendant PAPS will directly infringe one or more claims of
1

2    SEONG Patents.

3           40.    Upon information and belief, at all times relevant, Defendant MACT
4
     actively and knowingly aided and abetted Defendant PUNGKUK and Defendant PAPS
5
     to directly infringe one or more claims of SEONG Patents, because the president of
6

7
     Defendant MACK is Mr. Hyun-Sik Shin ("HSSHIN") who left the employment of

8    Plaintiff OPEC for the purpose of making and exclusively supplying pre-drawn electrode
9    wire to Defendant PUNGKUK which conveniently draws and forms the infringing
10
     electrode wires that directly infringe one or more claims of SEONG Patents and then
11
     exports/imports the infringing wires through Defendant PAPS.
12

13          41.    Upon information and belief, at all times relevant, Plaintiffs allege that

14   HSSHIN left the employment of Plaintiff OPEC upon coercion and encouragement from
15
     Defendant PUNGKUK, and established Defendant MACT to make and provide the pre-
16
     drawn electrode wires for Defendant PUNGKUK, knowing that the final product made
17
     by Defendant PUNGKUK will directly infringe one or more claims of SEONG Patents,
18

19   even though HSSHIN had agreed to not disclose any trade secrets of Plaintiff OPEC

20   under Pledge for Security as shown in Exhibit H.
21
            42.    Upon information and belief, at all times relevant, Defendant MACT
22
     knew of SEONG Patents, because HSSHIN knew of SEONG Patents when HSSHIN
23
     was an employee of Plaintiff OPEC.
24

25          43.    Upon information and belief, at all times relevant, all or substantially all

26   of the pre-drawn electrode wires made by Defendant MACT are sold to Defendant
27
     PUNGKUK, Defendant MACT supplying the pre-drawn electrode wires to be drawn so
28




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       that the Defendant PUNGKUK's processed wires directly infringe one or more claims of
1

2      SEONG Patents.

3             44.     Upon information and belief, at all times relevant, Defendant PUNGKUK
4
       conveniently exports/imports the infringing wires into the United States through
5
       Defendant PAPS.
6

7
              45.     Upon information and belief, at all times relevant, Defendant MACT

8      actually intended to cause the direct infringement of one or more claims of SEONG
9      Patents through Defendant PUNGKUK and Defendant PAPS.
10
              46.     Upon information and belief, at all times relevant, Defendant MACT, in
11
       conspiracy and in collusion with Defendant PUNGKUK and Defendant PAPS, has
12

13     divided the process of making and selling the infringing wires among Defendant MACT,

14     Defendant PUNGKUK, and Defendant PAPS, each of these three Defendants
15
       committing infringing acts in sequence.
16
              47.     Upon information and belief, at all times relevant, Defendant MACT,
17
       Defendant PUNGKUK, and Defendant PAPS act as one entity, deliberately under the
18

19     guise of three separate organizations, conspiring to infringe one or more claims of

20     SEONG Patents.
21
              48.     Upon information and belief, at all times relevant, Defendant MACT
22
       knew of the SEONG Patents and knew or should have known that its actions would lead
23
       to actual infringement of one or more claims of SEONG Patents.
24

25            49.     Upon information and belief, at all times relevant, even after full

26     knowledge of SEONG Patents, Defendant MACT willfully and wantonly continued to
27
       supply the exclusively made pre-drawn wires to Defendant PUNGKUK, which in turn
28




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       sold or transferred the processed infringing wires to Defendant PAPS to import, use,
1

2      advertise, offer for sale, sell for subsequent sale in the United States.

3             50.     Upon information and belief, at all times relevant, Defendant MACT's
4
       pre-drawn wires are material components of the articles according to the claims of
5
       SEONG Patents and they are not staple articles of commerce capable of substantial non-
6

7
       infringing use, because all or substantially all of the pre-drawn wires made by MACT are

8      sold to Defendant PUNGKUK for the sole purpose of being processed through either
9      drawing or hot-dipping which produces directly infringing electrode wires for
10
       machining, and because the pre-drawn wires made by Defendant MACT are not fit for
11
       other purposes due to having no insulation, having specific alloy construction for
12

13     specifically making the infringing wires, and due to prohibitively high cost of

14     manufacturing compared to simple copper wires.
15
              51.     Upon information and belief, at all times relevant, Defendant MACT,
16
       therefore, knew that its pre-drawn wires were specifically made for and specifically
17
       adapted for making the infringing wires by Defendant PUNGKUK.
18

19            52.     As a consequence of Defendant PUNGKUK's, Defendant PAPS's, and

20     Defendant MACT's acts of infringement of one or more of the claims of SEONG Patents
21
       as set forth above, Plaintiffs have been damaged, and will continue to be damaged unless
22
       such acts are enjoined by the Court.
23

24
                                                     Count III

25                     FEDERAL PATENT INFRINGEMENT, TITLE 35 U.S.C. §271.
                                 (AGAINST DEFENDANT DOES)
26

27
              53.     Plaintiffs incorporate paragraphs 1 through 52 herein by reference and

28     further allege as follows:



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              54.     On information or belief, Plaintiffs allege Defendants, DOES 1 through
1

2      10, inclusive, created, assembled, distributed, manufactured, sold and/or used infringing

3      wires that directly infringe at least one claim of SEONG Patents or that have otherwise
4
       induced or contributed to the infringement of at least one claim of SEONG Patents. The
5
       true name and capacities, whether corporate, individual or otherwise, of the Defendant
6

7
       DOES 1 through 10, inclusive, are unknown to Plaintiffs, and will ask leave to amend

8      this Complaint to show their true names and capacities when the same have been
9      ascertained.
10
              55.     On information and belief, Plaintiffs allege that at all times relevant
11
       hereto, each of the Defendants, including without limitation to Defendants DOES 1
12

13     thorough 10, inclusive, was the agent, affiliate, officer, director, manager, principal,

14     partner, joint venturer, alter-ego and/or employee of the remaining Defendants and was
15
       at all times acting within the scope of agency affiliate, officer, director, manager,
16
       principal, partner, joint venturer, alter-ego and/or employment relationship and actively
17
       participated in, or subsequently ratified and adopted, or both, each and all of the acts or
18

19     conduct alleged herein, with full knowledge of all the facts and circumstances, including,

20     but not limited to, full knowledge of each and all of the violations of Plaintiffs' rights and
21
       the damages to Plaintiff proximately caused thereby.
22
              56.     As a consequence of Defendant DOES's 1 through 10, inclusive, acts of
23
       infringement of one or more of the claims of SEONG Patents as set forth above,
24

25     Plaintiffs have been damaged, and will continue to be damaged unless such acts are

26     enjoined by the Court.
27

28




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                                           PRAYER FOR RELIEF
1

2             WHEREFORE, Plaintiffs respectfully request that:
3
                      A. Defendant PAPS be declared and adjudged to have directly infringed,
4
       engaged in the contributory infringement of, and actively induced others to infringe at least one
5
       or more of the claims of SEONG Patents, and therefore one or more SEONG Patents;
6

7                     B. Defendant PUNGKUK be declared and adjudged to have directly infringed,

8      engaged in the contributory infringement of, and actively induced others to infringe at least one
9
       or more of the claims of SEONG Patents, and therefore one or more SEONG Patents;
10
                      C. Defendant MACT be declared and adjudged to have engaged in the
11

12
       contributory infringement of, and actively induced others to infringe at least one or more of the

13     claims of SEONG Patents, and therefore one or more SEONG Patents;
14
                      D. Each of Defendants' infringement, contributory infringement, and active
15
       inducement of infringement of at least one or more of the claims of SEONG Patents, and
16
       therefore one or more SEONG Patents, be declared and adjudged to be willful and deliberate;
17

18                    E. Each of Defendants, and any of its officers, directors, agents, servants,

19     employees, successors, assigns, and all those controlled by them or in active participation
20
       with them, be preliminarily and permanently enjoined from further acts of infringement of at
21
       least one or more of the claims of SEONG Patents, and therefore one or more SEONG
22
       Patents;
23

24                    F. Each of Defendants be required to account for and pay over to Plaintiffs
25     all actual damages suffered by Plaintiffs by reason of respective Defendant’s
26
       infringement, including without limitation lost profits and/or a reasonable royalty;
27
                      G. By reason of the willful and deliberate nature of the aforesaid infringing
28




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       acts, such damages be trebled pursuant to 35 U.S.C. § 284;
1

2                     H. By reason of the exceptional nature of this case within the meaning

3      of 35 U.S.C. § 285, Plaintiffs be awarded their attorneys’ fees;
4
                      I. Each of Defendants be ordered to pay to Plaintiffs’ prejudgment and
5
       postjudgment interest, and costs; and
6

7                     J. This Court grants Plaintiffs such other further legal and equitable relief as

8      the Court deems just and proper.
9
                                       DEMAND FOR TRIAL BY JURY
10

11
               Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs request a
12
       trial by jury in this matter.
13

14

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      Dated: March 13, 2015                   Respectfully submitted,
1

2                                             KI CHUL SEONG, an individual, and
                                              OPEC ENGINEERING CO., LTD.,
3                                             a Korean Corporation
4
                                             Attorneys for Plaintiffs
5
                                             /s/ John K. Park
6
                                             John K Park, CA Bar #175212
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